February 09, 2007


Mr. Chris J. Kling
901 Main Street, Suite 7100
Dallas, TX 75202


Ms. Eva C. Ramos
Skelton &amp; Woody
P.O. Box 1609
Austin, TX 78767
Mr. Stuart Smith
Naman, Howell, Smith &amp; Lee, L.L.P.
900 Washington Avenue, 7th Floor
Waco, TX 76701

Mr. Bill M. Payne
Payne, Watson, Miller, Malechek &amp; Scherr, P.C.
P.O. Box 6900
Bryan, TX 77805

RE:   Case Number:  05-0812
      Court of Appeals Number:  10-03-00365-CV
      Trial Court Number:  02-002362-CV-85 &amp; 02-002383-CV-85

Style:      STATE FARM LIFE INSURANCE COMPANY
      v.
      TONI WASSON MARTINEZ

Dear Counsel:

      Today the Supreme Court of Texas delivered the  enclosed  opinion  and
judgment in the above-referenced cause.


                                       Sincerely,
                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Mr. Larry A. Catlin  |
|   |Mr. R. Hal Moorman   |
|   |Ms. Sharri Roessler  |
|   |Mr. Marc Hamlin      |
|   |Mr. Douglas W.       |
|   |Alexander            |

